        Case 1:12-cv-11554-WGY Document 226 Filed 12/20/13 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

LEXINGTON LUMINANCE LLC                           §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §     No. 1:12-cv-11554-WGY
                                                  §
FEIT ELECTRIC COMPANY, INC.                       §     JURY DEMANDED
                                                  §
       Defendant.                                 §
                                                  §


                           JOINT STIPULATION OF DISMISSAL


       Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Lexington Luminance LLC (“Lexington”) and

Defendant Feit Electric Company, Inc. (“Feit”) jointly stipulate that all claims and counterclaims

of the above-captioned action are dismissed with prejudice. Lexington and Feit further stipulate

that each party shall bear its own costs, fees, and expenses in connection with this action, and

that each party waives its rights of appeal.



DATED: December 20, 2013                       Respectfully submitted,


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Case 1:12-cv-11554-WGY Document 226 Filed 12/20/13 Page 2 of 3



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                                  2
        Case 1:12-cv-11554-WGY Document 226 Filed 12/20/13 Page 3 of 3



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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on the above date.

                                              /s/ Robert D. Katz
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                                                     3
